Case 1:17-cv-06543-JMF Document 55-1 Filed 04/27/18 Page 1 of 12

 

EXHIBIT A

Detective Lopez Complaint Follow-Up Reports Regarding the
May 2015 Investigation Of Plaintiffs’ Apartment

 

 

 

 
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LAINT FOLLOW.
Pot aate ie Ren, 2-061

Com: Ne, Date of this Report
2016-898-0009028  OBAUZ01G 1245

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PROPERTY, ADDITIONAL STOLEN PROPERTY, SERIAL NUMBERS OBTAINED FOR PROPERTY PREVIOUSLY REPORTED

Subjeck: 1 SARBTWET REGISTRATION / 43 FIO CONFERAL | | i‘ |
LOCATION 2416 WEBSTER AVENUE APT# 1S ™ Bf

1, This tormplaint was generated by the Inte] information Pe oN states the above tocavioh nale black
and Hispanic selling "HARD" (street name for CRACK the subject Apartment 1Si The above
location was safetnet with the following UDEC#20150038692 with no Conflicts. Op the same duy I have

PO SISCO the assistant for Set Baez 48 FIO, The.above subject idcation was with negative results.

21 hav requested Unity Check, Accurint, RTCC onthe above subject location. i.
3. Subnited for your information. . ‘
OPEN CASE

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Date of thin Report Sate of Orig, : "T pave Assigned Fotiowusp No.
WANS S48 Report __p eeewa019 42

 

 

 

 

Case No. 4
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TO REPORT: CRIME CLASSIFICATION CHANGES, CASE ARRESTS, RECOVERED F
ADDITIONAL STOLEN PROPERTY, SERIAL NUMBERS OBTAINED FOR PROPERTY PPRELIOUSY REPORT! a i.

SUV 1278 - POSITIVE RESULTS

   
 
  
 

 

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May ym, 2¢ 2015, 2 i hours I under the \ perdision of Lt Provenche

1,On Hid conduct a
contre! attempt utilizi with positive results details are as following:

2. At imately urs { did conduct A control boy uilizing t the above location, A search of
the Cl for con: was conducted which yielded negative results. then given $20.00 dollars USC.

The Cl ivas then instructed to go directly 2416 Webster Avenue Apet 1S. The Cl left the auto at ours and —
d directly to the subject location. The Cl retumed to the amo at hours with one bay ck cooulne

states he/she proceeded to the subject location where he/she knocked the door a male black 54-55",

 
  
   
  

a location. ; of}
« 4, Positive contro} buy #1276 Narcotics vouchered at the 48 PCT for investigatory with the followiig j

VOUCHER ft 2000430274 NARCO 45951737 PSE#1202237785 ITEM 1 OF I ZIPLOCK Aa :
ONE WAS (FTP) ' ,

5. Subspitted for your information

 

 

 

 

 

 

 
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COMPLAINT FOLLOW-UP

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201 6-596-4005095 872112019 28: Report. Ce a.
‘Unit Reporting : , "|Cage No
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‘PO Nor ‘THIS FORM TO ero CRIME CLASSIFICATION CHANGES, CAGE CLEARANCES, ALL ARRESTS, REC
PROPERTY, ADDITIONAL STOLEN PROPERTY, SERIAL NUMBERS OBTAINED FOR PROPERTY PREVIOUSLY REPORTED. i
Subject: 1 PAYMENT COM1276, 1276 AND Sus 164 T

LOCATION 2416 WEBSTER AVENUE APT# 1S

May [i 2015 At approximately MM hous il Mia RNR 2s foid 6150.00 US
Lt Provencher for two (2) positives buys CB#1275, 1276 h Warrant Affidavit 4164 obtained
(2015 . The payment was made at the comer of East 182 Srreat And Hughes Avenue, witoegs by Det

Oconnell and Myself
2. Conttol buy positives #1275, #1276 (USC $80 per buy)
4. Paynient for Obtaining a SW# 164 (USC $100.00)

  
  

 

   
 

 

 

 

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NARCOTS _ 2015-730-9012408 :

 

 

  
 
 
 
 

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PROPERTY: ADDITIONAL STOLEN PROPERTY. SERIAL NUMBERS OBTAINED FOR PROPERTY PREVIOUSLY REPORTE Be

Sunject: NT REVIEW / RICC FUTILITY CHECK ,
LOCATION 2816 WERSTER AVENUE APT £15 | YF
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LUZ ARBRLARE poe onn6/tnes Sen 19966-2011

DERORAH ARBELAEZ DOB 12/19AG85 SEN 91-74-7044
SEBAQTIAN ARBELAEZ 008 04/21/1088 SSN001-74-.9167 |
PABLO. A DOB 0673177994 °
MANUEL DROELARZ — DOB da/2M/1001 ‘ |
RTCC sivjust for the lovation shows: a
7 seat dott tie suboctcaes parte DIR wae of £8, broquaied eabes etic TR fortucthes itvestipation,
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LUZ ARAHALEZ SINCE 2/1998 SERVICE PHONE NUMBER # 048-990-0810 iL

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Subject GJUSTICE ON SUBJECTS 14
LOCATION 2416 WEBSTER AVENUE APT# 18 |
1. Treckived my E-Justice requested for'the subject inside apartment 18. i

LUZ ARBELAEZ DOB 02/26/1963 SSN XXX-XX-XXXX NO ARREST, IR RESPORTED BECAUS
SON'S. | oe

DEBORAH ARBELAEZ DOB 12/12/1985 SSN XXX-XX-XXXX ONE (1) ARREST FOR 120.00 | ut

ARBELAEZ DOB 04/24/1988 SSN 09-74-9167 FIVE (3) ARREST FOR SALE AND ROSSESSION
OF NARCOTICS, ALSO TWO (2) ARREST FOR ASSAULT TO CAUSE INJURY

P ARBELAEZ DOB 03/31/1994 ONE (1) TAB SUMMONS MADE ON 2011 A
ARBELAEZ DOB 09/24/1991 NO ARREST, VICTIM OF A SHOOTING.\ ,

2. Submitted for your information.

3, OPENICASE

 

  
    
 
 

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shibjct CONTROL BUYe4824. POSTIVE RESULTS
LOCATION 2416 WEBSTER AVENUE APT# 15.

On i fl 2015, At approximately (MMI hours 1 under the supervision of Lt Provencher did conduct
veoue uy attempt ulllizing CH Intel # with positive results details are as following:

2, Al approximately hours J:did conduct A.control buy utilizing Cl# at the above-lotation, A search of
‘the Cl for contraband was conducted whieh ylelded negative results, The: C] was then given $20.00 dollans USC.
‘The CI was then instructed to go directly 2416 Webster Avenue Apt 18, The'Cl left the auto at piiys anid
proceeded directly to the subject location: The Cl returned tothe auto at [MJ hours with one bag of crack cocaine

3. "The -Cl states he/she proceeded to the-subject location where.he/she knocked the door a male black,.3'10", 140lbs
known to Cl as JD “AFRO* open the door, The Cl states he / she asked “JD "AFRO" for "HARD "(street name for
crack cocaine):Cl handed "J DHA HARD® $20,00, Cl did wait outside at the entrance door for JD “AFRO” who went
insidethe Apartment. After a few minutes JD “ AFRO®* handed two ziplock bags of crack cocaine to the CI. Cl
‘then left the location ald retiriied to the predetemmined location.

4. Positive control buy #1334 Narcotics vouchered at the 48 PCT for Intvestigatory with the following information:

VOUCHER # 2000432398 NARCOWS971119 PSEH1202230123 ITEM I OF 2 ZIPLOCK BAG OF CRACK
COCAINE ONE WAS (FTF)

S, Submitted: for your information

 

 

 

 

 

 

 

 

 

6. CASE ACTIVE
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Report S2U2016 7 |
ee 2018: 3-73b-0012608
Se ee A ee
Subject: Cl PAYMENT CONTIG
LOGATION: 2AN6. WEBSTER AVENUE APT# 1S
BB 2018 At approximately SM hours Cl + intel # was pald

   

180.1 Currency by Lt Provencher for two (2) positives buys OB#1332 NC Intro, vane the
second. CBEa34, ‘The payment was made at c/o 181 street and 3rd Avenue, witness by Det Boylan:

and Myself,
2. Control buy positives #1992941 334
3. Submitted for your Information.

 

   

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Subject Sia 161 OSTANED -NED

LOCATION 2416 WEBSTER AVENUE APT# 1S

1. On 5/28/2015 at 1239 PM hours — Lobtained Bronx Search Warrant #15-181 1
subject eaten The warrant was appli ADA YUKELSON “ signed by the hel
Rodrigitez Il:

3. Submitted for your information. ‘ :
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PROPERTY, ADDITIONAL STOLEN PROPERTY, SERIAL NUMBERS OBTAINED FOR more PREVIOUSLY REPORTED,

 

Bubject: SHV EXECUTED #161. + POSITIVE RESULTS |
LOCATION 2416 WEBSTER AVENUE APT# 18

1. On 0$/29/2015 at 0600 hours.the 48 field team and myself executed Bronx search warrant 4
following subjects were arrested for PL 220.50;220.03

ARB , PABLO D DOB 05/31/1994 NYSUD 81308 7436K 220,50;220.03 ARREST # nk é
, SEBASTIAN DOE 04/26/1988 NYSIDE 03347105I 220.50; 220.03 ARREST #
ARB LUE DOB 02/26/2963 NYSIDH 130874468. 220.50;220.4 3 ARREST A bISO3156, Fo

2. In th subject location was also ARBELAEZ, DEBORAH, ‘she was tot arrested because there whsf
her roo: |

3. ited for your information. : :

 

 

 

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Subject Gl PAYMENT FOR OBTAINING / POSITIVE Sw#184 i

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(ON 2416 WEBSTER AVENUE HS ,

     
 
   

June],2015 At approximately SS hours I A RS ras paid $78 100 US

 

   

 

 

 

 

 

  

 

1. On
Curren Provencher for Obtaining (1) Search Warrants #181, Positive Results on same and a
Positive CBH 1408, Payment was made at the c/o E TREMONT AVENUE AND BOSTON by Det
Ocomnnell, and myself
2, Lreqiest the above complaint to be close to ARREST# B15631566) |
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